
THE COURT.—
Decrees were entered herein making final distribution in February, 1903, and discharging the administratrix with the will annexed in April, 1903. Notices of appeal from these decrees were served August 15th following.—• more than sixty days after their entry. Respondent moves to dismiss the appeals upon the ground that the notices were not served in time.
The motion must be granted. The time for appealing from probate orders, judgments, and decrees is limited by section 1715 of the Code of Civil Procedure to sixty days from date of entry, and this court has no jurisdiction of an appeal attempted after the lapse of that time. The decisions to this effect are numerous, and the language of the statute is plain. *74(See Estate of Wiard, 83 Cal. 619, and the numerous eases in which that decision has been cited and followed.)
The appeals are dismissed.
